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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION




        Patent Armory Inc.,                                           Case No. 2:23-cv-479

                Plaintiff,                                            Patent Case

                v.                                                    Jury Trial Demanded

        Scantech (Hangzhou) Co., Ltd.,

                Defendant.



                               COMPLAINT FOR PATENT INFRINGEMENT

       1.      Plaintiff Patent Armory Inc. (“Plaintiff”), through its attorneys, complains of

Scantech (Hangzhou) Co., Ltd. (“Defendant”), and alleges the following:

                                                PARTIES

       2.      Plaintiff Patent Armory Inc. is a corporation organized and existing under the

laws of Canada that maintains its principal place of business at 400-1565 Carling Ave., Ottawa,

Ontario, Canada K1Z 8R1.

       3.      Defendant Scantech (Hangzhou) Co., Ltd. is a corporation organized and existing

under the laws of China that maintains an established place of business at Building 12, No.998,

West Wenyi Road, Yuhang District, Hangzhou, Zhejiang Province, China.

                                              JURISDICTION

       4.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.




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        5.      This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).

        6.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District. As described below, Defendant has

committed acts of patent infringement giving rise to this action within this District.

                                                    VENUE

        7.      Venue is proper in this District under 28 U.S.C. § 1391(c) because Defendant is a

foreign corporation. In addition, Defendant has committed acts of patent infringement in this

District, and Plaintiff has suffered harm in this district.

                                              PATENTS-IN-SUIT

        8.      Plaintiff is the assignee of all right, title and interest in United States Patent Nos.

7,256,899; and 7,336,375 (the “Patents-in-Suit”); including all rights to enforce and prosecute

actions for infringement and to collect damages for all relevant times against infringers of the

Patents-in-Suit. Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the

present action for infringement of the Patents-in-Suit by Defendant.

                                              THE ’899 PATENT

        9.      The ’899 Patent is entitled “Wireless methods and systems for three-dimensional

non-contact shape sensing,” and issued 2007-08-14. The application leading to the ’899 Patent

was filed on 2006-10-04. A true and correct copy of the ’899 Patent is attached hereto as Exhibit

1 and incorporated herein by reference.

                                              THE ’375 PATENT

        10.     The ’375 Patent is entitled “Wireless methods and systems for three-dimensional

non-contact shape sensing,” and issued 2008-02-26. The application leading to the ’375 Patent


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was filed on 2007-06-03. A true and correct copy of the ’375 Patent is attached hereto as Exhibit

2 and incorporated herein by reference.

                             COUNT 1: INFRINGEMENT OF THE ’899 PATENT

       11.     Plaintiff incorporates the above paragraphs herein by reference.

       12.     Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’899 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’899 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’899 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’899 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       13.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’899 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       14.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       15.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’899 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its


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products in the customary and intended manner that infringes the ’899 Patent. See Exhibit 3

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       16.      Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’899 Patent, literally or by the doctrine of equivalents, by selling

Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’899 Patent.

       17.      Exhibit 3 includes charts comparing the Exemplary ’899 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’899 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’899 Patent Claims.

       18.      Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 3.

       19.      Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                             COUNT 2: INFRINGEMENT OF THE ’375 PATENT

       20.      Plaintiff incorporates the above paragraphs herein by reference.

       21.      Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’375 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the

charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’375 Patent also identified in the charts incorporated


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into this Count below (the “Exemplary ’375 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’375 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       22.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’375 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       23.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       24.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’375 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’375 Patent. See Exhibit 4

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       25.     Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’375 Patent, literally or by the doctrine of equivalents, by selling

Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’375 Patent.




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        26.     Exhibit 4 includes charts comparing the Exemplary ’375 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’375 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’375 Patent Claims.

        27.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 4.

        28.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        29.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’899 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly and indirectly one or more

                claims of the ’899 Patent;

        C.      A judgment that the ’375 Patent is valid and enforceable

        D.      A judgment that Defendant has infringed directly and indirectly one or more

                claims of the ’375 Patent;

        E.      An accounting of all damages not presented at trial;

        F.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                for Defendant's continuing or future infringement, up until the date such judgment




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              is entered with respect to the ’899; and ’375 Patents, including pre- or post-

              judgment interest, costs, and disbursements as justified under 35 U.S.C. § 284;

      G.      And, if necessary, to adequately compensate Plaintiff for Defendant's

              infringement, an accounting:

               i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                    and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                    that it incurs in prosecuting this action;

              ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


Dated: October 12, 2023                       Respectfully submitted,

                                              /s/ Isaac Rabicoff
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